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                                                                                  OF CALIFORNIA
                                                                                        CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                                 )        DEFENDANTS                 ( Check box if you are representing yourself                  )



(b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                                      Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                                    representing yourself, provide the same information.
        Connor Lynch (SBN 301538)                  Phone: (949) 229-3141
        connor@lynchllp.com
        LYNCH LLP
        4470 W. Sunset Blvd. No. 90096
        Los Angeles, CA 90027

II. BASIS OF JURISDICTION (Place an X in one box only.)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                    (Place an X in one box for plaintiff and one for defendant)
                                                                                                                             PTF        DEF                                            PTF       DEF
     1. U.S. Government                                                                                                                           Incorporated or Principal Place
                                           ✘ 3. Federal Question (U.S.                         Citizen of This State               1          1                                              4         4
     Plaintiff                                Government Not a Party)                                                                             of Business in this State
                                                                                               Citizen of Another State            2          2   Incorporated and Principal Place           5         5
                                                                                                                                                  of Business in Another State
     2. U.S. Government                       4. Diversity (Indicate Citizenship               Citizen or Subject of a
                                                                                               Foreign Country                     3          3 Foreign Nation                               6         6
     Defendant                                of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                                         6. Multidistrict        8. Multidistrict
      1. Original           2. Removed from               3. Remanded from              4. Reinstated or         5. Transferred from Another                Litigation -            Litigation -
 ✘                             State Court                   Appellate Court               Reopened                 District (Specify)
        Proceeding                                                                                                                                          Transfer                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                          ✘   Yes           No      (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                               Yes          ✘   No                   ✘    MONEY DEMANDED IN COMPLAINT: $ According to proof
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.                             Do not cite jurisdictional statutes unless diversity.)



VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                       CONTRACT                REAL PROPERTY CONT.                   IMMIGRATION                    PRISONER PETITIONS                   PROPERTY RIGHTS
     375 False Claims Act                110 Insurance                     240 Torts to Land            462 Naturalization               Habeas Corpus:            ✘   820 Copyrights
                                                                                                        Application
                                         120 Marine                    245 Tort Product                                                 463 Alien Detainee             830 Patent
     376 Qui Tam                                                       Liability                     465 Other                          510 Motions to Vacate
     (31 USC 3729(a))                                                  290 All Other Real                                               Sentence                       835 Patent - Abbreviated
                                         130 Miller Act                                              Immigration Actions
     400 State                                                         Property                          TORTS                          530 General                    New Drug Application
                                         140 Negotiable
     Reapportionment                     Instrument                        TORTS                   PERSONAL PROPERTY                    535 Death Penalty              840 Trademark
     410 Antitrust                       150 Recovery of             PERSONAL INJURY                                                                                      SOCIAL SECURITY
                                                                                                     370 Other Fraud                          Other:
     430 Banks and Banking               Overpayment &                310 Airplane                                                                                     861 HIA (1395ff)
                                         Enforcement of                                                 371 Truth in Lending            540 Mandamus/Other
     450 Commerce/ICC                                                 315 Airplane
                                         Judgment                     Product Liability                                                 550 Civil Rights               862 Black Lung (923)
     Rates/Etc.                                                                                         380 Other Personal
                                         151 Medicare Act             320 Assault, Libel &              Property Damage                 555 Prison Condition           863 DIWC/DIWW (405 (g))
     460 Deportation                                                  Slander
     470 Racketeer Influ-                152 Recovery of                                                385 Property Damage             560 Civil Detainee             864 SSID Title XVI
                                                                      330 Fed. Employers'               Product Liability               Conditions of
     enced & Corrupt Org.                Defaulted Student            Liability
                                         Loan (Excl. Vet.)                                                                              Confinement                    865 RSI (405 (g))
     480 Consumer Credit                                                                                 BANKRUPTCY
                                                                       340 Marine                                                  FORFEITURE/PENALTY
     490 Cable/Sat TV                    153 Recovery of                                                422 Appeal 28                                                       FEDERAL TAX SUITS
                                                                       345 Marine Product               USC 158
                                         Overpayment of                Liability                                                    625 Drug Related                   870 Taxes (U.S. Plaintiff or
     850 Securities/Com-                 Vet. Benefits                                                  423 Withdrawal 28           Seizure of Property 21             Defendant)
     modities/Exchange                                                 350 Motor Vehicle                USC 157                     USC 881
                                         160 Stockholders'                                                                                                             871 IRS-Third Party 26 USC
     890 Other Statutory                 Suits                         355 Motor Vehicle                 CIVIL RIGHTS                690 Other                         7609
     Actions                                                           Product Liability
                                         190 Other                                                      440 Other Civil Rights                LABOR
     891 Agricultural Acts                                             360 Other Personal
                                         Contract                      Injury                           441 Voting                     710 Fair Labor Standards
     893 Environmental                                                                                                                 Act
     Matters                             195 Contract                  362 Personal Injury-
                                         Product Liability             Med Malpratice                   442 Employment                 720 Labor/Mgmt.
     895 Freedom of Info.                                              365 Personal Injury-             443 Housing/                   Relations
     Act                                 196 Franchise                                                  Accommodations
                                                                       Product Liability                                               740 Railway Labor Act
     896 Arbitration                 REAL PROPERTY                                                      445 American with
                                                                       367 Health Care/                                                751 Family and Medical
                                         210 Land                      Pharmaceutical                   Disabilities-
     899 Admin. Procedures                                                                              Employment                     Leave Act
                                         Condemnation                  Personal Injury
     Act/Review of Appeal of                                           Product Liability                446 American with              790 Other Labor
     Agency Decision                     220 Foreclosure
                                                                                                        Disabilities-Other             Litigation
                                                                       368 Asbestos
     950 Constitutionality of            230 Rent Lease &              Personal Injury                                                 791 Employee Ret. Inc.
                                                                                                        448 Education
     State Statutes                      Ejectment                     Product Liability                                               Security Act

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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes    ✘    No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes    ✘    No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes    ✘    No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district                                                                                       ✘
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                                                                                              ✘
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes          ✘ No                                                                             Yes        ✘ No

                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes          ✘ No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    ✘    NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                ✘    NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):                      /s/ Connor Lynch                                                               DATE:

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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